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UNITED STATES COURT OF INTERNATIONAL TRADE                         FORM 8
__________________________________________
                                           )
INCASE DESIGN CORP.                        )
                                           )
                                           )
                        Plaintiff,         ) Consol. Court No. 16-00267
                                           )
                        v.                 )
                                           )
UNITED STATES,                             )
                                           )
                        Defendant.         )
__________________________________________)

                                 STIPULATION OF DISMISSAL

        PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(ii) of the Rules of
the United States Court of International Trade, having filed a stipulation of dismissal signed by all
parties who have appeared in this action and those actions listed on the attached schedule hereby
dismisses this action and those listed on the attached schedule.

Dated: October 28, 2022

Respectfully submitted,

/s/ Heather Litman
Heather Litman                                        BRIAN M. BOYNTON
GRUNFELD, DESIDERIO, LEBOWITZ                         Principal Deputy Assistant Attorney General
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HLitman@gdlsk.com                                     JUSTIN R. MILLER
                                                      Attorney-In-Charge
Attorneys for Plaintiff                                              Digitally signed by
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                                                      SOLOMON Date:
                                                      _________________
                                                                       2022.10.28
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                               Schedule to Stipulation of Dismissal


 Court Number         Plaintiff(s) Name                Protest               Entry Number(s)
                                                    Number(s) or              (if applicable)
                                                  Claim Number(s)
16-00267             Incase Design Corp.       2720-16-100406            300‐5030998‐7
                                               2720-16-100458            300‐5030996‐1
                                               2720-16-100781            300‐5030571‐2
                                                                         300‐5030192‐7
                                                                         300‐5031699‐0
                                                                         300‐5031884‐8
                                                                         300‐5036460‐2
                                                                         300‐5036071‐7
                                                                         300‐5036532‐8


18-00090             Incase Design Corp.       3901-XX-XXXXXXX           300-5743181-8
                                                                         300-5743182-6




                                       Order of Dismissal

        This action and those listed on the schedule set forth above, having been voluntarily
stipulated for dismissal by all parties having appeared in the action, are dismissed.


Dated:   November 2, 2022

                                             Clerk, U. S. Court of International Trade



                                             By:            /s/ Jason Chien
                                                                Deputy Clerk


(As amended Dec. 18, 2001, eff. Apr.1, 2002; Aug. 2, 2010, eff. Sept. 1, 2010.)
